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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,           )
                                    )
               Plaintiff,           )                 ORDER DENYING DEFENDANT’S
                                    )                 PETITION FOR HABEAS CORPUS
       vs.                          )                 RELIEF UNDER 28 U.S.C. § 2255
                                    )
Nancy Elizabeth Ferneau,            )
                                    )                 Case No. 1:03-cr-046
               Defendant.           )
____________________________________)
                                    )
Nancy Elizabeth Ferneau,            )
                                    )
               Petitioner,          )
                                    )
       vs.                          )                 Case No. 1:06-cv-070
                                    )
United States of America,           )
                                    )
               Respondent.          )

       Before the Court is the Defendant’s pro se petition under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence, filed on September 11, 2006. On September 12, 2006, the Court

reviewed the motion and ordered the Government to file a response. On November 9, 2006, the

Government filed a response requesting that the Court deny the Defendant’s motion for post-

conviction relief. The Defendant filed a reply brief on December 12, 2006. For the reasons set forth

below, the motion is denied.



I.     BACKGROUND

       On July 9, 2003, the defendant, Nancy Elizabeth Ferneau (“Ferneau”), and four others were

charged in a nine-count indictment with various drug and firearm offenses. Count One charged

Ferneau and four other individuals with conspiracy to distribute and possess with intent to distribute
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methamphetamine. See Docket No. 11. On December 18, 2003, a jury found Ferneau guilty on the

drug conspiracy count. See Docket No. 131. As to the drug conspiracy count, the jury found that

the conspiracy involved over 50 grams of methamphetamine or over 500 grams of a mixture or

substance containing a detectable amount of methamphetamine.

       Ferneau was sentenced on March 9, 2004. The Presentence Investigation Report (“PSR”)

calculated a total offense level of 36 and criminal history category VI, yielding an advisory

Sentencing Guideline range of 324 - 405 months. See PSR, pp. 13-21. The total offense level of

36 was arrived at by starting with a base offense level of 34 because the conspiracy conviction

involved 2,446.92 grams of methamphetamine of which 404.37 grams were actual

methamphetamine; and a two-level increase under U.S.S.G. § 3B1.1(c) as a manager or supervisor

of criminal activity involving five or more participants.

       Ferneau objected to the calculations. Ferneau asserted that the base offense level should be

a 32; that the two-level enhancement under U.S.S.G. § 3B1.1(c) should not apply; and that she

should receive a two-level decrease under U.S.S.G. § 3B1.2 as a minor participant. See Sentencing

Tr. 4-6. The Court rejected Ferneau’s objection to the base offense level and agreed with the

probations officer’s determination of the quantity of methamphetamine and resulting offense level.

See Sentencing Tr. 10-13. The Court agreed with Ferneau that she should not be assessed a two-

level enhancement under U.S.S.G. § 3B1.1(c). See Sentencing Tr. 14-16. However, the Court

rejected Ferneau’s request for a two-level reduction under U.S.S.G. § 3B1.2 for being a minor

participant. See Sentencing Tr. 13-14. The Court determined that Ferneau’s total offense level was

34 with a criminal history category VI, resulting in an advisory sentencing guideline range of 262 -

327 months. See Sentencing Tr. 16. The Court sentenced Ferneau to a 300-month term of

imprisonment. See Docket No. 157.

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         On March 17, 2004, Ferneau filed a notice of appeal. See Docket No. 158. Ferneau

appealed her conviction and sentence. On appeal, Ferneau argued that (1) the evidence was

insufficient to convict; (2) her Sixth Amendment right to be present at trial was violated when she

was excluded from a pretrial hearing; (3) the Court erred when it occasionally failed to admonish

the jury not to discuss the case amongst themselves during a recess; (4) she was entitled to a two-

level reduction for being a minor participant; and (5) her sentence violated the Sixth Amendment.

See United States v. Barth, 424 F.3d 753 (8th Cir. 2005). The Eighth Circuit Court of Appeals

rejected all of Ferneau’s claims and affirmed the conviction and sentence. Id.

         On September 11, 2006, Ferneau filed a motion under 28 U.S.C. § 2255. Ferneau alleges

several deficiencies with her conviction and sentence, including: (1) ineffective assistance of

counsel; (2) inadequate voir dire; (3) insufficient evidence; (4) introduction of false testimony; (5)

prosecutorial misconduct; (6) errors in sentencing; and (7) jurors’ unawareness of the potential

sentence.



II.      LEGAL DISCUSSION

         A motion under 28 U.S.C. § 2255 is not a substitute for a direct appeal and is not the proper

way to complain about simple trial errors. Anderson v. United States, 25 F.3d 704, 706 (8th Cir.

1994). “To the fullest extent possible, all arguments, even constitutional or jurisdictional ones,

should be made at trial and on direct appeal.” See United States v. Ward, 55 F.3d 412, 413 (8th Cir.

1995).

         Once the defendant’s chance to appeal has been waived or exhausted . . . federal
         courts are entitled to presume [the defendant] stands fairly and finally convicted,
         especially when [the defendant] already has had a fair opportunity to present [her]
         federal claims to a federal forum. Thus, when a defendant fails to raise an issue on


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       direct appeal, he or she is generally barred from raising that issue for the first time
       in a post-conviction proceeding.

Wilson v. United States, Civ. No. 06-1233(RHK), Crim. No. 02-361 (RHK/RLE), 2006 WL

3086896 (D. Minn. Oct. 30, 2006) (citing United States v. Frady, 456 U.S. 152 (1982) and Reid v.

United States, 976 F.2d 446 (8th Cir. 1992)) (internal quotations and citations omitted).

       To obtain post-conviction relief on a claim that was not previously raised on direct appeal,

“a prisoner must clear a significantly higher hurdle than would exist on direct appeal.” United States

v. Frady, 456 U.S. 152, 164 (1982). The petitioner must show both sufficient cause to excuse the

procedural default and actual prejudice resulting from the claimed error. Id.; United States v. Moss,

252 F.3d 993, 1001 (8th Cir. 2001); United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996);

United States v. Ward, 55 F.3d 412, 413 (8th Cir. 1995).



       A.      INEFFECTIVE ASSISTANCE OF COUNSEL

       It is well-established that a peittioner’s ineffective assistance of counsel claim is properly

raised under 28 U.S.C. § 2255 rather than on direct appeal. United States v. Davis, 452 F.3d 991,

994 (8th Cir. 2006). The burden of demonstrating ineffective assistance of counsel is on a defendant.

United States v. Cronic, 466 U.S. 648, 658 (1984); United States v. White, 341 F.3d 673, 678 (8th

Cir. 2003). To be eligible for habeas relief based on ineffective assistance of counsel, a defendant

must meet the two-part test announced in Strickland v. Washington, 466 U.S. 668, 687 (1984). A

defendant must first establish that counsel’s representation was constitutionally deficient, which

requires a showing that counsel’s performance fell below an objective standard of reasonableness.

Id. at 687-88; see also Wiggins v. Smith, 539 U.S. 510 (2003). This requires showing that counsel

made errors so serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant


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by the Sixth Amendment. Strickland v. Washington, 466 U.S. 688, 687 (1984). In considering

whether this showing has been accomplished, “[j]udicial scrutiny of counsel’s performance must be

highly deferential.” Id. at 689. If the underlying claim (i.e., the alleged deficient performance)

would have been rejected, counsel’s performance is not deficient. Carter v. Hopkins, 92 F.3d 666,

671 (8th Cir. 1996). Courts seek to “eliminate the distorting effects of hindsight” by examining

counsel’s performance from counsel’s perspective at the time of the alleged error. Id.

        A defendant must show that the deficient performance prejudiced her defense. Strickland

v. Washington, 466 U.S. 668, 687 (1984). This requires proving that there is a reasonable

probability that, but for counsel’s ineffectiveness, the result would have been more favorable to the

defendant. Id. at 690-91. A reasonable probability is one “sufficient to undermine confidence in

the outcome.” Wiggins v. Smith, 539 U.S. 510, 534 (2003). Merely showing a conceivable effect

is not enough. When evaluating the probability the result would have been different, a court views

the alleged error in light of the totality of all the evidence before the jury to gauge the effect of the

error. Kimmelman v. Morrison, 477 U.S. 365, 381 (1986); Williams v. United States, 452 F.3d

1009, 1013 (8th Cir. 2006).

        Where a defendant raises multiple claims of ineffective assistance, each claim of ineffective

assistance must be examined independently rather than collectively. Hall v. Luebbers,296 F.3d 385,

692-693 (8th Cir. 2002); Griffin v. Delo, 33 F.3d 895, 903-904 (8th Cir. 1994).

        Construing the petition liberally, it appears Ferneau has alleged ineffective assistance of

counsel as follows: (1) counsel was inexperienced in criminal law; (2) counsel failed to move for

a change of venue; (3) counsel failed to call witnesses; (4) counsel stipulated to essential elements

of the offense; (5) counsel failed to adequately investigate the case; (6) counsel failed to object to

the sentence; (7) counsel failed to move for severance; (8) counsel failed to request adequate jury

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instructions; (9) counsel failed to object to evidence regarding Ferneau’s alleged cocaine usage; and

(10) counsel failed to move to suppress statements made in violation of Ferneau’s right to Miranda

warnings.1


                  1.       EXPERIENCE OF DEFENSE COUNSEL

         Ferneau asserts that her defense counsel was inexperienced in criminal cases and that he

specialized in bankruptcy, wills, probate, and divorce cases. The Government asserts that Ferneau’s

trial counsel had experience in criminal cases, including drug conspiracy cases, prior to his

appointment to Ferneau’s case and cites to several cases in which Ferneau’s trial counsel was

counsel of record. See United States v. Stroh, 176 F.3d 439, 439 (8th Cir. 1999)(conspiracy to

distribute a controlled substance, distribution of a controlled substances, money laundering, and

conspiracy to launder money); State v. Murchison, 541 N.W.2d 435, 437-438 (N.D. 1995)(delivery

of marijuana); State v. Woehloff, 540 N.W.2d 162, 164 (N.D. 1995)(burglary and theft); State v.

Murchison, 537 N.W.2d 365 (N.D. 1995)(aggravated assault, assault, and terrorizing).

         It is well-established that simply claiming counsel was inexperienced is insufficient to show

ineffective assistance. See United States v. Cronic, 446 U.S. 648, 665 (1984); United States v.

Brady, No. 4:05-cr-023, 2006 WL 3498558, *3 (D. N.D. Dec. 1, 2006). While inexperience may

be a factor in evaluating an attorney’s actual performance, a defendant must still satisfy the

Strickland test of establishing both deficient performance and prejudice. Ferneau has failed to

demonstrate how counsel’s alleged inexperience resulted in deficient performance or prejudiced the



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          The Court notes that it is difficult to discern from Ferneau’s pro se petition whether she is alleging her
counsel was deficient in regard to the above enumerated issues, or whether Ferneau is alleging each of these issues
constitute errors separate and apart from the performance of her counsel. To the extent that Ferneau’s allegations
could possibly be construed as a failure of her counsel, the Court will analyze such claims as ineffective assistance
of counsel claims.

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result of the proceedings. The Court finds that Ferneau’s claim of inexperience, which is wholly

unsupported by the record, does not establish a claim for ineffective assistance of counsel. As a

result, Ferneau has failed to establish that her Sixth Amendment right to counsel was violated.



                2.      CHANGE OF VENUE

         Ferneau also contends that her counsel was ineffective in failing to file a motion for change

of venue because of publicity prior to and during the trial. Ferneau argues that during her trial “the

Bismarck Tribune and all the local TV stations plastered [her] picture and headlines stating ‘Biggest

case in North Dakota history, Major drug ring busted.’” See Docket No. 197-1, p. 1. Ferneau

alleges the media coverage took place during the week of August 5-12, 2003, more than four months

prior to the trial. See Docket No. 211. The Government asserts that Ferneau is unable to show that

such a motion would have been successful or that she was prejudiced by counsel’s failure to file a

motion for change of venue.

         Rule 21(a) of the Federal Rules of Criminal Procedure provides that, upon the defendant’s

motion, a trial court must transfer the proceeding against that defendant to another district if the

court is satisfied that so great a prejudice against the defendant exists in the transferring district that

the defendant cannot obtain a fair and impartial trial there. It is well-settled that a trial court has

broad discretion in determining whether a defendant should be granted a change of venue. See

Walker v. Bishop, 408 F.2d 1378, 1389 (8th Cir. 1969). It should be noted that the Government’s

choice of forum is ordinarily respected. See United States v. McManus, 535 F.2d 460, 463 (8th Cir

1976).

         A court applies a two-tier analysis in determining whether a change of venue based upon

pretrial publicity is warranted. United States v. Gamboa, 439 F.3d 796, 815 (8th Cir. 2006). First,

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a court must determine “whether the pretrial publicity was so extensive and corrupting that

unfairness of constitutional magnitude must be presumed.” Id. If such a presumption is not

warranted, a court must then examine the jury selection process to determine if an inference of actual

prejudice is shown. United States v. Allee, 299 F.3d 996, 1000 (8th Cir. 2002). In doing so, the

court must examine the voir dire testimony to determine whether the jury panel selected was

impartial. Id.; Gamboa, 439 F.3d 796, 815. The “mere exposure to publicity or the formation of

tentative impression by some jurors is not enough to require a change of venue.” U.S. v. Bliss, 735

F.2d 294, 298 (8th Cir. 1984).

       Ferneau first asserted that there was extensive publicity during her trial, and then, in her

reply brief, argued that the publicity occurred prior to her trial. Other than Ferneau’s unsupported

allegations, the record is devoid of any evidence to establish the extensiveness of the alleged

publicity surrounding the trial. The Court finds that Ferneau has failed to establish that the media

coverage was so extensive and corruptive to warrant a presumption of prejudice.

       Because the presumption of prejudice does not apply, the Court must next determine whether

the jury panel selected was impartial. During jury selection, the Court inquired no less than four

times whether any of the prospective jurors knew anything about the case or whether they knew any

of the attorneys or defendants. See Trial Tr. 17, 21, 30, 56. None of the jurors ultimately selected

indicated that they knew anything about the case. The transcript of voir dire reflects that none of

the prospective jurors had any knowledge of the case. See Trial Tr. 17-31, 56-57. When asked by

the parties’ attorneys, none of the prospective jurors’ answers indicated any knowledge of the case.

See Trial Tr. 102-145. Prospective jurors who indicated that they had a problem with the

requirement of proof beyond a reasonable doubt, believing that the playing field should be leveled,



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did not serve as jurors. See Trial Tr. 129-132, 149-150. The Court finds that the jury selection

process was void of any inference of prejudice.

        As to Ferneau’s complaint that the media coverage of the trial prejudiced the jurors during

the trial, the Court specifically instructed the jurors not to read any newspapers or search the Internet

or listen to any radio or television reports of the case. See Trial Tr. 173. Jurors are presumed to

follow the Court’s instructions. See United States v. Delpit, 94 F.3d 1134, 1144 (8th Cir. 1996).

        After carefully reviewing the transcript of the voir dire process and the jury instructions

given throughout the trial, the Court finds that Ferneau has failed to establish that media coverage

of the trial warranted a change of venue, either prior to trial, upon the completion of voir dire, or

during the trial. In other words, the Court finds that Ferneau’s counsel’s performance and the failure

to request a change of venue did not fall below an objective standard of reasonableness, and that

Ferneau has failed to establishe that she was prejudiced by her counsel’s failure to seek a change of

venue. As a result, Ferneau’s claim regarding a change of venue must fail.



                3.      FAILURE TO CALL WITNESSES

        Although it is not clear from the pleadings, it appears that Ferneau is contending that her

counsel was ineffective for failing to call certain witnesses as character witnesses. Ferneau attached

letters of support from her sisters (Julia Fleisher and Maggie Armijo), her mother (Kathy Anderson),

and three friends (Craig Sivertsen, Leslie Moss, and Linda Mateo). See Docket No. 197-2, pp. 28-

35. The Government asserts that Ferneau has failed to establish that declining to call these witnesses

amounted to deficient performance by her counsel or that such a failure resulted in prejudice to her

case.



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       Counsel’s decision whether to call a witness at trial is normally a trial strategy decision that

is presumed reasonable and cannot be challenged. United States v. Rice, 449 F.3d 887, 898 (8th Cir.

2006); United States v. Staples, 410 F.3d 484, 488 (8th Cir. 2005). This presumption is dependent

upon the adequacy of counsel’s investigation. White v. Roper, 416 F.3d 728, 732 (8th Cir. 2005).

Counsel cannot be deemed ineffective if he is unaware of the potential witnesses. United States v.

Davidson, 122 F.3d 531, 538 (8th Cir. 1997).

       Ferneau has neither alleged nor demonstrated that her counsel was aware of the potential

testimony of these witnesses. Nor has Ferneau established that the information to which these

witnesses could have testified would have had an effect on the outcome of the case. It appears that

none of the potential witnesses had first-hand knowledge of Ferneau’s activities in Bismarck, North

Dakota. Only one of the potential witnesses appears to have resided in North Dakota during the

period covered by the drug conspiracy charge. The remainder of the potential witnesses appear to

reside in the state of Washington. A thorough review of the witnesses’ proffered testimony reveals

that, if called to testify, each would have provided general character evidence. These witnesses

generally state that they have never seen Ferneau use methamphetamine, that Ferneau has been in

trouble in the past, and that Ferneau is a good person.

       As the Government points out, if these witnesses had been called, they would have been

subject to cross-examination about their awareness of specific instances of Ferneau’s conduct. Rule

404(a)(1) of the Federal Rules of Evidence allows the use of evidence of the character of the

accused. However, on cross-examination, the Government is allowed to inquire as to specific

instances of conduct. See Fed. R. Evid. 404(a); United States v. Michelson, 335 U.S. 469, 478-484

(1948); United State v. Grady, 665 F.2d 831, 834-835 (8th Cir. 1981). The Government likely

would have been allowed to impeach these witnesses with Ferneau’s prior convictions involving

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material used to manufacture methamphetamine which occurred during the period of the alleged

conspiracy. See PSR ¶¶ 71-74. Such impeachment would have greatly diminished the value of the

witnesses statements that Ferneau was never involved with methamphetamine, and undoubtedly

would have been detrimental to Ferneau’s defense that she was not involved with methamphetamine.

       Aside from the introduction of damaging information on cross-examination, the general

proposition offered by each of Ferneau’s potential witnesses, i.e., that Ferneau was not involved with

methamphetamine, was advanced by her counsel through the cross-examination of Government

witnesses. Several of the Government witnesses testified that they did not know Ferneau, and a few

of those who knew her stated that they had never seen Ferneau with methamphetamine. See Trial

Tr. Testimony of Raymond Kershaw 270-283; James Chrisikos 333-373; William Canada 396-407,

415-416; Leslie Schmidt 588-612, 622-623; Jason Kramer 641-677, 697; Charles Chadwick 985-

994; Tara Letvin 1032-1045, 1049; Jennifer Wilke 1060-1080, 1085-1086, 1093-1094; Blaine

Martinez 1109-1110, 1117, 1132-1133; Patricia “Trish” Walsh 1153-1182; Scott Messner 1186-

1207; and Tim Sailer 1275-1279.

        Even if the Court assumes that counsel was aware of the above-identified witnesses in spite

of Ferneau’s failure to establish such knowledge, counsel’s strategic decision to forgo such character

testimony was reasonable. Counsel had to balance the value of the character testimony against the

potential for damaging testimony which could have been elicited on cross-examination. Counsel

also had to weigh the fact that he had been able to advance the defense theory that Ferneau was not

involved in methamphetamine through cross-examination of some of the Government’s witnesses.

Under the circumstances, the Court finds that counsel’s strategic decision not to call the potential

character witness was not unreasonable.



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       Even if the Court were to find that counsel’s performance was deficient in failing to call

character witnesses, Ferneau had failed to establish prejudice, i.e., that the results of the proceeding

would have been different. When determining whether prejudice exists, a court must consider the

totality of the evidence. Williams v. United States, 452 F.3d 1009, 1013 (8th Cir. 2006). In this

instance, the Court must add the proffered testimony from Ferneau’s character witnesses to the

evidence before the jury and then “gauge the likely outcome of the trial based on this total body of

evidence.” Id. “In doing this analysis, the court should be mindful of (1) the credibility of all

witnesses, including the likely impeachment of the uncalled defense witnesses; (2) the interplay of

the uncalled witnesses with the actual defense witnesses called; and (3) the strength of the evidence

actually presented by the prosecution.” Id. (internal citations omitted).

       As previously noted, the Court finds that it is likely the proffered character witnesses would

have been impeached with evidence of Ferneau’s prior convictions. As for the evidence presented

at trial, dozens of witnesses testified. The Government provided a thorough summary of the

witnesses and evidence that implicated Ferneau in the drug conspiracy.

               Rigoberto Fernandez testified that he was hired by codefendant Rosalio
       Vargas to transport methamphetamine from Washington state to Bismarck, North
       Dakota (Tr. 838-40, 847). He made eight successful trips from Washington to
       Bismarck, but was caught in Montana on his ninth trip (Tr. 838-840, 847). Upon
       arriving in Bismarck, Fernandez said he would take the drugs to Ferneau’s trailer per
       Vargas’ direction (Tr. 843, 845). Once there, Vargas and Ferneau would divide up
       the drugs (Tr. 846). Ferneau then called people who would arrive and be supplied
       with methamphetamine (Tr. 848, 849). According to Fernandez, Ferneau would
       distribute the drugs to persons who arrived (Tr. 848).
               One of the persons Fernandez identified who arrived to pick up drugs was a
       man named Douglas Frederick, a/k/a “the Doc” (Tr. 848). In August 2001,
       Bismarck Police Detective Roger Becker had contact with Ferneau in reference to
       the purchase of methamphetamine manufacturing materials (Tr. 1241-42, 1258).
       During this encounter, Detective Becker found an address book in Ferneau’s purse
       which had the number for a Douglas Frederick (Tr. 1245-46).
               Fernandez testified that another of the persons who obtained drugs at
       Ferneau’s was James Rhone (Tr. 864). James Rhone testified that Ferneau was his

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       source of methamphetamine at one point, and that he began selling
       methamphetamine for Ferneau (Tr. 910-12, 953). Rhone noted that the
       methamphetamine deals between he and Ferneau would take place at Ferneau’s
       trailer. He further stated that this trailer was where he first saw Vargas and
       Fernandez (Tr. 912-16). Rhone testified that he was present when Vargas and
       Fernandez brought drugs to Ferneau’s trailer, and that he obtained drugs from Vargas
       at Ferneau’s residence (Tr. 917, 920). The address book Detective Becker found in
       Ferneau’s purse in August 2001 also had Rhone’s number in it (Tr. 1244).
               Fernandez testified that Shawn Barth was another person who would arrive
       at Ferneau’s home on at least one occasion and obtain drugs (Tr. 848-49, 878).
       James Rhone testified that he observed Ferneau distribute methamphetamine to Barth
       (Tr. 931-32). Detective Becker also found Barth’s telephone number in Ferneau’s
       address book during the August 2001 incident. (Tr. 1245).
               Fernandez testified Ferneau would collect money from the drug sales (Tr.
       850). Patricia Walsh testified that, on one occasion, she drove Ferneau around to
       locations during which Walsh observed Ferneau had a large amount of cash (Tr.
       1168-69). When Walsh asked Ferneau about the cash, Ferneau replied that Walsh
       didn’t need to know (Tr. 1170). According to Walsh, Ferneau told her that she had
       stolen money from Vargas and Fernandez (Tr. 1171). Detective Becker testified that
       in March 2001, he received a voice-mail message and subsequently a call from
       Ferneau. In the message, Ferneau advised Becker that Vargas was in town, that he
       had told Ferneau’s daughter that Ferneau had fucked him over, and that Vargas was
       looking for a gun (Tr. 1240). During the phone call, Ferneau told Becker that Vargas
       had informed Ferneau’s daughter that Ferneau was to keep her mouth shut (Tr.
       1241).
               DEA Agent Dunlap testified he interviewed Ferneau after Fernandez had
       been arrested on drug charges in Montana (Tr. 803-04). Ferneau informed Dunlap
       that Vargas asked her to contact the Custer County Jail were Fernandez was lodged
       to check on Fernandez’ detention status and attempt to recover the car Fernandez
       was driving at the time of his arrest (Tr. 809). This vehicle contained a large amount
       of methamphetamine and marijuana. Dunlap testified that Ferneau also admitted
       purchasing cell phones for Fernandez, one of which was used by Vargas (Tr. 810).

See Government’s Response Brief, pp. 16-19 (Docket No. 210) (footnote omitted).

       As the record reflects, much of the Government’s evidence against Ferneau was introduced

through the testimony of Fernandez, and Fernandez’s testimony was corroborated by the other

witnesses identified above. After carefully reviewing the totality of the evidence, the Court finds

that the inclusion of the proffered character witness testimony would not have resulted in a different

outcome. As discussed above, the Government’s ability to impeach these character witnesses with


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Ferneau’s prior convictions would have lead to the introduction of additional incriminating

evidence. The Court finds that there was overwhelming evidence of Ferneau’s guilt. Thus, the Court

further finds that even if the testimony of the character witnesses would have been introduced,

Ferneau has failed to establish a reasonable probability that the results of the trial would have been

different. Ferneau’s claims that the failure to introduce testimony of character witnesses played a

significant role in her conviction must fail as a matter of law.



               4.      STIPULATION TO ESSENTIAL ELEMENTS OF THE OFFENSE

       Ferneau alleges that her counsel was ineffective because he stipulated to elements of her

offense. Ferneau does not identify what element(s) were allegedly a part of the stipulation, nor does

she indicate whether the stipulation was written or oral.

       The record is devoid of any evidence to support Ferneau’s allegation that her counsel

stipulated to certain elements of the drug conspiracy charge. At best, the record reflects that

counsel, in his closing argument, did not seriously challenge the agreement or understanding element

of the conspiracy charge. Such a strategy was not unreasonable given the amount of evidence

supporting the conclusion that an agreement or understanding existed. Ferneau’s trial counsel

vehemently asserted that if a conspiracy existed, Ferneau was not a part of it. The Court finds that

Ferneau has failed to provide any evidence to support her proposition that her counsel entered in to

a stipulation admitting certain element(s) of the alleged drug conspiracy offense. As a result,

Ferneau is unable to establish her counsel’s performance was deficient. The Court finds that this

claim must fail as a matter of law.




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               5.      INVESTIGATION OF THE CASE

       Ferneau also asserts that her counsel was ineffective for failing to properly investigate her

case, and that she was not “given an expert or other services necessary for adequate representation.”

See Docket No. 197-1, p. 11. Ferneau wholly fails to set forth specific details as to why her

counsel’s investigation was allegedly deficient. Ferneau fails to suggest what new evidence or legal

arguments a more thorough investigation would have revealed. To succeed on a claim of ineffective

assistance of counsel based on an inadequate investigation, a petitioner must demonstrate that a more

thorough investigation would have revealed evidence which would establish a reasonable probability

that the results of the trial would have been different. See United States v. Purkett, 15 F.3d 785,

789-790 (8th Cir. 1993).

       The Court finds that Ferneau has failed to establish that her counsel was deficient in failing

to conduct a thorough investigation. Ferneau’s passing reference to the fact that her counsel did not

employ an expert witness is of little value when Ferneau fails to allege what type of expert would

have assisted in her defense. The Court also finds that Ferneua has failed to establish that she was

prejudiced as a result of her counsel’s performance. As a result, the Court finds that Ferneau’s claim

of ineffective assistance of counsel based on inadequate investigation must fail as a matter of law.



               6.      OBJECTION TO SENTENCE

       Ferneau asserts that her counsel was ineffective for failing to object that her sentence was

based on facts not found by the jury. The Government asserts that at the time of Ferneau’s

sentencing on March 9, 2004, neither Blakely v. Washington, 542 U.S. 296 (2004), nor United States

v. Booker, 543 U.S. 220 (2005), had been decided by the United States Supreme Court. The



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Government acknowledges that Apprendi v. New Jersey, 530 U.S. 466 (2000), had been decided and

that Apprendi only required the jury to find facts that raised the statutory maximum penalty.

       At the time of Ferneau’s sentencing, trial courts were permitted to make factual findings by

a preponderance of the evidence in determining a defendant’s sentencing range without violation of

the Sixth Amendment. See United States v. Evans, 285 F.3d 664, 672 (8th Cir. 2002); United States

v. Kurkowski, 281 F.3d 699, 703 (8th Cir. 2002); United States v. Hartje, 251 F.3d 771, 776 (8th Cir.

2001). Any objection by counsel based on factual findings for sentencing purposes would not have

been supported by case law. It is well-established that counsel is not ineffective for failing to

anticipate a change in the law. Parker v. Bowersox, 188 F.3d 923, 929 (8th Cir. 1999); Horne v.

Trickey, 895 F.2d 497, 500 (8th Cir. 1990). The Court finds that Ferneau has failed to establish that

counsel’s failure to object to her sentence at the time of sentencing was deficient performance.

       To the extent that Ferneau is asserting that her counsel failed to pursue this issue on appeal,

the record clearly establishes that Ferneau’s counsel raised Blakely issues on appeal and that the

Eighth Circuit Court of Appeals rejected her Blakely claims on appeal. Barth v. United States, 424

F.3d 753 , 764 (8th Cir. 2005). Thus, Ferneua has failed to establish that her counsel was ineffective

for failing to object to her sentence. The Court finds that this claim must fail as a matter of law.



               7.      SEVERANCE

       Although not entirely clear from the petition, it appears that Ferneau is asserting that her trial

counsel was ineffective in failing to file a motion to sever her case from the other defendants.

Ferneau contends that there was insufficient evidence to convict her and that she was merely found

guilty by association. The Government argues that Ferneau’s claim must fail.



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       To prevail on this claim, Ferneau must first establish that a motion to sever would have been

successful. A severance under Rule 14 should be granted “only if there is a serious risk that a joint

trial would compromise a specific trial right of one of the defendants, or prevent the jury from

making a reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534, 538

(1993). However, a defendant is “not entitled to severance merely because they may have a better

chance of acquittal in separate trials.” Id. As a general rule, persons charged with a conspiracy will

be tried together, especially where proof of the charges against each of the defendants is based on

the same evidence and acts. United States v. Foote, 920 F.2d 1395, 1398 (8th Cir. 1990) (citing

United States v. O’Meara, 895 F.2d 1216, 1218 (8th Cir.) cert. denied, 498 U.S. 943 (1990)). It is

well-established that a defendant can demonstrate real prejudice to her right to a fair trial by showing

(a) her defense is irreconcilable with that of a co-defendant or (b) the jury will be unable to

compartmentalize the evidence as it relates to the separate defendants. United States v. Washington,

318 F.3d 845, 858 (8th Cir. 2003). The risk of prejudice posed by joint trials is best cured by careful

and thorough jury instructions. United States v. Mickelson, 378 F.3d 810, 818 (8th Cir. 2004). The

defendant has the burden to establish that severance is warranted and necessary. Bear Stops v.

United States, 204 F. Supp.2d 1209, 1215-1216 (D. S.D. 2002).

       The Court finds that Ferneau has failed to establish that a motion for severance would have

been granted. Ferneau has failed to show that her defense was irreconcilable with that of her co-

defendants. The acquittal of one of the co-defendants belies any claim by Fereneau that the jury was

unable to compartmentalize the evidence. Thus, Ferenau’s counsel’s failure to move for severance

cannot be considered ineffective because there was no basis for the motion.

       Even if Ferneau were able to show that severance was warranted under the circumstances,

Ferneau has failed to establish that the results of a separate trial would have been different. As

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detailed above, the evidence against Ferneau was overwhelming and would have been admissible

in a separate trial. In addition, the record clearly reflects that the Court instructed the jury to

“consider each count separately as to each defendant and return a special verdict for each defendant

charged in each count.” See Trial Tr. 166. The Court also instructed the jury that:

       . . . merely being present at the scene of an even, or merely acting in the same way
       as others or merely associating with others, does not prove that person has joined in
       an agreement of understanding. A person who has knowledge of a conspiracy but
       who happened to act in a way which advances some purpose of one, does not there
       by become a member.

See Trial Tr. 1345; Eighth Circuit Manual of Model Jury Instructions, Criminal § 506B (2003). The

jury was also instructed that:

       if you find that the alleged conspiracy did exist, you must decide whether a defendant
       voluntarily and intentionally joined the conspiracy, either at the time it was first
       formed or at some later time while it was still in effect. In making that decision, you
       must consider only evidence of that defendant’s own actions and statements.

See Trial Tr. 1346; Eighth Circuit Manual of Model Jury Instructions, Criminal § 506B (2003).

Such instructions were sufficient to cure any potential prejudice. See Zafiro v. United States, 506

U.S. 534, 537 (1993) (holding that instructions requiring the jury to consider the evidence as to each

defendant and each count separately coupled with instructions that each defendant is entitled to have

her case determined from her own conduct are sufficient to cure any possibility of prejudicial joinder

of defendants).

       The Court finds that Ferneau’s claim that her counsel’s failure to move to sever her trial from

that of her co-defendants played a significant role in her conviction must fail as a matter of law. The

Court finds that there is no reasonable probability that the result would have been different.




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                8.      JURY INSTRUCTIONS

        Ferneau also complains that a buyer/seller instruction should have been given to the jury.

Like several of her other claims, it is difficult to determine whether Ferneau is asserting her counsel

was ineffective for failing to request such an instruction. However, the Court will construe the

complaint liberally and review Ferneau’s claim as an ineffective assistance of counsel claim. The

Government asserts that Ferneau’s claim must fail, in part, because the facts of the case did not

warrant a buyer/seller instruction.

        It is well-established that there must be evidence to support a proposed instruction before a

court is obligated to instruct the jury in the manner requested. United States v. Crawford, 449 F.3d

860, 862 (8th Cir. 2006). It is also clear that a buyer/seller relationship standing alone is insufficinet

to establish a conspiracy. United States v. Finch, 16 F.3d 228, 231 (8th Cir. 1993). The Eighth

Circuit has held that a buyer/seller instruction may be appropriate where the evidence demonstrates

that there are single sales of small amounts of controlled substances consistent with personal use and

“no independent evidence tending to prove the defendant had some knowledge of the broader

conspiracy.” United States v. Vinton, 429 F.3d 811, 815 (8th Cir. 2005). However, buyer/seller

instructions are not appropriate where there is evidence of distribution of larger amounts of drugs

over a period of time. See United States v. Finch, 16 F.3d 228, 231 (8th Cir. 1993).

        As previously discussed, the evidence against Ferneau was overwhelming. Cooperating co-

defendant Rigoberto Fernandez indicated that the conspiracy involved numerous occasions where

methamphetamine was transported from out-of-state directly to Ferneau’s home in Bismarck, North

Dakota. See Trial Tr. 838-848. James Rhone testified that for a period of time Ferneau supplied

him with methamphetamine to sell. See Trial Tr. 910-912, 953. The Court finds that because of

the evidence presented which established multiple drug sales of quantities inconsistent with personal

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use, an instruction on buyer/seller was not warranted by the facts. The Court finds that counsel’s

performance was not deficient in failing to request such an instruction.

        Even if the Court were to determine that a buyer/seller instruction were appropriate, Ferneau

has not demonstrated a reasonable probability that the result would have been different. The

evidence presented at trial established that Ferneau’s involvement was beyond that of a buyer/seller.

The Court finds that Ferneau has failed to establish that the inclusion of a buyer/seller jury

instruction would have resulted in a more favorable outcome. As a result, the Court finds that this

claim must fail.



                 9.      EVIDENCE REGARDING COCAINE USE

        Ferneau asserts that evidence of a 1987 conviction was improperly admitted into evidence

during the trial through the testimony of Drug Enforcement Agency Agent Dan Dunlop. Again, it

is difficult to determine whether Ferneau is asserting her counsel was ineffective for failing to object

to such evidence. However, the Court will construe the complaint liberally and review Ferneau’s

claim as an ineffective assistance of counsel claim. The Government contends this claim should be

summarily denied.

        A thorough review of DEA Agent Dunlop’s testimony reveals that he did not make a

statement regarding Ferneau’s use of cocaine nor a prior conviction for cocaine possession.2 The

Court finds that this claim is wholly without merit and must be dismissed.




        2
          The PSR includes information regarding Ferneau’s 1988 conviction for possession of cocaine. No
criminal history points were assessed for this prior conviction. See PSR, ¶¶ 38-39.

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               10.     MIRANDA WARNING

       Finally, Ferneau complains that statements she made to Agent Dunlap were in violation of

her Miranda rights. As with several of Ferneau’s claims, it is unclear whether she intends to assert

an ineffective assistance of counsel claim for her counsel’s failure to file a motion to suppress her

statements to DEA Agent Dunlop. Nevertheless, the Court will construe the complaint liberally and

review Ferneau’s claim as an ineffective assistance of counsel claim. The Government argues that

such a motion would have been denied because Ferneau was not in custody at the time of interview.

       In order to obtain habeas relief, Ferneau must show that her suppression claim is

“meritorious and that there is a reasonable probability that the verdict would have been different

absent the excludable evidence.” Kimmelman v. Morrison, 477 U.S. 365, 375 (1986) (where

allegation of ineffective assistance of counsel claim is based on a failure to litigate Fourth

Amendment claim, defendant must “prove that Fourth Amendment claim is meritorious and that

there is a reasonable probability that the verdict would have been different absent the excludable

evidence”). In other words, Ferneau must show that DEA Agent Dunlap was required to and failed

to administer Miranda warnings to her.

       It is clear that the Government may not use statements, whether exculpatory or inculpatory,

stemming from a custodial interrogation of a defendant, unless it demonstrates the use of procedural

safeguards effective to secure the privilege against self-incrimination. Miranda v. Arizona, 384 U.S.

436, 444 (1966). It is also well-established that law enforcement officers must administer Miranda

warnings whenever a suspect is “taken into custody or otherwise deprived of his freedom by the

authorities in any significant way and is subjected to questioning.” Miranda v. Arizona, 384 U.S.

436, 478-479 (1966). A person is in custody when she is either formally arrested or her freedom of

movement is constrained to a degree equivalent with formal arrest. United States v. Brave Heart,

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397 F.3d 1035, 1038 (8th Cir. 2005). The Miranda custody test is an objective test; two discrete

inquiries are essential: (1) the circumstances surrounding the interrogation, and (2) given those

circumstances, whether a reasonable person would have felt free to terminate the interrogation and

leave. Yarborough v. Alvarado, 541 U.S. 652, 663 (2004) (citing Thompson v. Keohane, 516 U.S.

99, 133 (1995)). In Berkemer v. McCarty, 468 U.S. 420, 442 (1984), the Supreme Court affirmed

that an objective test is preferable to a subjective test because under the objective analysis the police

do not have the burden of anticipating the frailties or idiosyncrasies of every person whom they

question.

        It is well-established in the Eighth Circuit that the totality of circumstances must be looked

at and that six factors are to be considered in determining whether an individual was held in custody:

(1) whether the suspect was informed during the interview that the questioning was voluntary, that

she could ask the officers to leave, or that she was not considered under arrest; (2) whether the

suspect possessed unrestrained freedom of movement during questioning; (3) whether the suspect

voluntarily acquiesced to official questioning or initiated contact with authorities; (4) whether strong

arm tactics or deceptive stratagems were employed during questioning; (5) whether there was a

police-dominated atmosphere; and (6) whether the suspect was placed under arrest at the termination

of the questioning. United States v. Griffin, 922 F.2d 1343, 1349 (8th Cir. 1990). However, the

Eighth Circuit does not require that the Griffin test be followed ritualistically in every Miranda case.

United States v. Czichray, 378 F.3d 822, 827 (8th Cir. 2004). “When the factors are invoked, it is

important to recall that they are not by any means exclusive, and that ‘custody’ cannot be resolved

merely by counting up the number of factors on each side of the balance and rendering a decision

accordingly.” Id. The most obvious way to demonstrate that a person is not in custody is to tell her



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that she is not in custody and that she may terminate the questioning at any time. United States v.

Czichray, 378 F.3d 822, 826; see also United States v. Brave Heart, 397 F.3d 1035, 1039.

       Ferneau makes no allegation nor any showing that she was “in custody” at the time she was

interviewed by DEA Agent Dunlap. A thorough review of the record suggests that Ferneau was not

in custody at the time of the interview. DEA Agent Dunlap attempted to contact Ferneau several

times to set up an interview and left messages on Ferneau’s cell phone. See Trial Tr. 803. Ferneau

returned one of Agent Dunlap’s messages and agreed to meet him at his office in Billings, Montana.

See Trial Tr. 804, 816. Agent Dunlap believed that Ferneau contacted him while she was traveling

from Washington state to Bismarck. See Trial Tr. 803-804. The record does not reflect that Ferneau

was ever arrested or even secured in any fashion by Agent Dunlap or some other law enforcement

officer either prior to, during, or after the interview. Once the interview was done, Ferneau left

Billings and presumably continued her trip back to Bismarck. See Trial Tr. 1174.

       The Court finds that Ferneau has failed to establish that a motion to suppress her statements

to DEA Agent Dunlap would have been granted. Ferneau has failed to establish that she was in

custody at the time of the interview. Because Ferenau was not in custody at the time of the

interview, Agent Dunlap was not required to provide her a Miranda warning. Thus, Ferenau’s

counsel’s failure to move to suppress her statements to DEA Agent Dunlap cannot be considered

ineffective because there was no basis for the motion.

        Even if the Court were to determine that Ferneau’s statements were improperly admitted,

Ferneau has failed to establish a reasonable probability that the outcome of the trial would have been

different. Although the statements were arguably inculpatory, as previously discussed, the other

evidence against Ferneau was abundant. In the absence of Ferneau’s statements there were

numerous witnesses who implicated Ferneau in connection with the drug conspiracy. Thus,

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Ferneau’s claim that her counsel failed to move to suppress her statements played a significant role

in her conviction must fail as a matter of law. The Court finds that there is no reasonable probability

that the result of the trial would have been different had the statements been suppressed.

         In sum, the Court finds that Ferneau has failed to establish that her counsel was ineffective.

As a result, Ferneau is not entitled to habeas relief on her ineffective assistance of counsel claim.



                B.      VOIR DIRE

         Ferneau also asserts that the Court did not adequately conduct voir dire to ensure an unbaised

jury in light of the alleged publicity the case received. The Government argues this claim is without

merit.

         As discussed above, a Section 2255 motion is not a substitute for a direct appeal. If a

constitutional claim could have been raised on direct appeal but was not, a defendant is entitled to

habeas relief only if she can establish cause for the procedural default as well as prejudice. See

United States v. Ward, 55 F.3d 412, 413 (8th Cir. 1995). To show prejudice, a defendant must show

that the alleged error “worked to [her] actual and substantial disadvantage, infecting [her] entire trial

with error of constitutional dimension.” United States v. Frady, 456 U.S. 152, 170 (1982).

         The record reveals that Ferneau did not object to the voir dire process during trial and that

she did not raise an issue related to the voir dire process on appeal. To be entitled to habeas relief,

Ferneau must first show that her claim implicates constitutional rights. It is well-established that

voir dire is crucial to protecting a defendant’s Sixth Amendment right to an impartial jury. Morgan

v. Illinois, 504 U.S. 719, 729-730 (1992). The Court finds that Ferneau has alleged a constitutional

violation in regard to the voir dire process. Ferneau must next establish both cause for her

procedural default and prejudice from the claimed error.

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        Ferneau makes no attempt to show cause for her procedural default. Her motion contains

no explanation why there was no objection as to the voir dire process at trial nor pursuit of the issue

on appeal. Again, Ferneau’s inartfully drafted petition hampers the Court’s ability to review her

claims. Nevertheless, the Court finds that to the extent Ferneau may be asserting that her counsel’s

performance establishes cause for her procedural default, the Court finds that it need not determine

counsel’s effectiveness in relation to Ferneau’s procedural default because the Court will also

examine whether the alleged violation prejudiced her trial.

        A trial court has broad discretion in conducting voir dire and the questions to be asked since

the court has the obligation, in the first instance, in selecting an impartial jury. Rozales-Lopez v.

United States, 451 U.S. 182, 189 (1980); United States v. Nelson, 347 F.3d 701, 701 (8th Cir. 2003).

A trial court’s voir dire is inadequate it if does not protect the defendant from prejudice or does not

allow the defendant to intelligently exercise her peremptory challenges. Id.

        The Court has already conducted a detailed analysis of the possible effect of publicity on

the voir dire process in relation to Ferneau’s claim that her counsel was ineffective for failing to file

a request for a change of venue and finds that it is unnecessary to repeat the analysis. To the extent

Ferneau is challenging the entire voir dire process, the record reveals that the Court engaged in a

thorough review of the potential jurors. The Court asked a series of questions to the group as a

whole including, but not limited to: (1) whether any juror had previously served on a jury ( Trial

Tr. 31, 57, 62); (2) whether any juror had been a party or a witness to a lawsuit (Trial Tr. 38, 57, 62);

(3) whether any juror or an immediate member of his/her family had been involved in a criminal

matter as a defendant, witness, or victim (Trial Tr. 42, 57, 62-63); (4) whether any juror had a

dispute or case against the United States (Trial Tr. 57, 64); (5) whether any juror knew any reason

they may be prejudiced against the government or the defendants (Trial Tr. 59, 64); (6) whether any

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juror harbored any prejudice toward Vargas because of his Hispanic race (Trial Tr. 66); and (7)

whether any juror would have a problem following the law as given by the Court even if they

disagreed with the law (Trial Tr. 67). Each attorney also asked questions of the potential jurors,

including: (1) whether any of the prospective jurors worked together or in the same company (Trial

Tr. 103, 117-118); (2) whether any of the jurors owned firearms, and whether anyone believed

firearms should be banned (Trial Tr. 103-105, 126); (3) whether jurors had contact with any law

enforcement agency involved in the case (Trial Tr. 105-112): (4) whether jurors knew any of the

Government’s anticipated witnesses (Trial Tr. 112-115); (5) whether their association or

acquaintance with any of the witnesses or law enforcement officers would cause them to believe

those witnesses’ testimony over another witnesses’ testimony (Trial Tr. 118-119); (6) whether they

could follow the Court’s instruction that the Government must prove guilt beyond a reasonable

doubt (Trial Tr. 121, 128-134); (7) whether they would still require the Government to carry its

burden of proof even if the defendants did not present any evidence (Trial Tr. 122-123) ; (8) whether

they could find a defendant not guilty if they had already found the other three defendants guilty

(Trial Tr. 135-136); and (9) whether there was anything they could think of that would affect their

ability to be impartial jurors (Trial Tr. 140, 144).

       More important, the Court also afforded each defense counsel an opportunity to question the

jury panel to ensure the selection of a fair and impartial jury. All defense counsel took advantage

of the opportunity, including Ferneau’s counsel. See Trial Tr. 116-145

       Ferneau fails to identify any specific portion of the voir dire that was inadequate or prevented

her or her attorney from intelligently exercising peremptory challenges on her behalf. The record

demonstrates that no juror indicated any knowledge of the case despite being repeatedly asked this

question. After thoroughly reviewing the record, the Court finds that Ferneau has not established

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that the voir dire process was inadequate or that her Sixth Amendment right to an impartial jury was

violated. Thus, Ferneau is not entitled to habeas relief on this claim.



        C.      INSUFFICIENT EVIDENCE

        Ferneau devotes a majority of her petition to her claim that the evidence was insufficient to

indict her and to convict her on the conspiracy charge. The Government contends this claim should

be summarily dismissed.

        A challenge to the sufficiency of the evidence is a trial error that cannot be raised in a

Section 2255 motion. Anderson v. United States, 25 F.3d 704, 706 (8th Cir. 1994). In addition, the

record establishes that Ferenau challenged the sufficiency of the evidence to convict on direct

appeal. See United States v. Barth, 424 F.3d 752, 760-761 (8th Cir. 2005). Issues that have been

decided on direct appeal cannot be relitigated in a Section 2255 motion. United States v. Wiley, 245

F.3d 750, 752 (8th Cir. 2001).

        To the extent Ferenau is asserting the grand jury had insufficient evidence to return an

indictment, it is also well-established that a defendant cannot challenge the sufficiency of the

evidence for the grand jury to find probable cause. United States v. Nelson, 165 F.3d 1180, 1182

(8th Cir. 1999) (citing Costello v. United States, 350 U.S. 359, 363-364 (1956) and United States

v. Cady, 567 F.2d 771, 776 (8th Cir. 1977)). Even if Ferneau could raise such a challenge, the fact

that the petit jury found her guilty at trial defeats her claim. United States v. Sanders, 341 F.3d 809,

818-819 (8th Cir. 2003). The Court finds that Ferneau’s claims regarding the sufficiency of the

evidence against her must fail. The Court further finds that Ferneau is not entitled to habeas relief

on her claim of insufficient evidence.



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         D.       CREDIBILITY AND/OR FALSE TESTIMONY OF WITNESSES

         Ferneau also challenges the credibility of several witnesses asserting that they proffered false

testimony. Ferneau asserts that (1) DEA Agent Dan Dunlap lied about her drug usage; (2) Patricia

“Trish” Walsh lied about her observation of a drug deal involving Patty Rhone and Rigoberto

Fernandez; (3) James Rhone consistently lied to avoid returning to jail; and (4) Rigoberto Fernandez

lied about Ferneau’s involvement to receive more lenient treatment. The Government contends that

each claim must fail.

         As discussed above, a Section 2255 motion is not a substitute for a direct appeal. If a

constitutional claim could have been raised on direct appeal but was not, a defendant is entitled to

habeas relief only if she can establish cause for the procedural default as well as prejudice. See

United States v. Ward, 55 F.3d 412, 413 (8th Cir. 1995). To show prejudice, a defendant must show

that the alleged error “worked to [her] actual and substantial disadvantage, infecting [her] entire trial

with error of constitutional dimension.” United States v. Frady, 456 U.S. 152, 170 (1982).

         The record reveals that Ferneau did not object to the testimony of Rigoberto Fernandez or

James Rhone. Ferneau’s counsel did object to portions of Agent Dunlap and Walsh’s testimony.

See Trial Tr. 796, 807, 1162-1163, 1170, 1172. However, the objections by Ferenau’s counsel did

not address the issue of credibility.3 The record also reveals that Ferneau did not challenge the




         3
           Ferneau’s counsel objected twice during Agent Dunlap’s testimony. See Trial Tr. 796, 807. The first
objection regarded the relevancy of photographs (trial exhibits 65 &66). This objection was noted for the record, but
the evidence was admitted. The second objection regarded a non-responsive answer. The question was rephrased
and Dunlap was allowed to answer.
          Ferneau’s counsel objected four times during Walsh’s testimony. See Trial Tr. 1162, 1163, 1170, 1172.
The first objection regarded the redundancy of questions, and this objection was overruled. The second and third
objections regarded leading questions, and these objections were sustained. The fourth objection regarded hearsay,
and this objection was also sustained.

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testimony of these witnesses in her direct appeal. The Court finds that Ferneau’s limited objections

and failure to raise this issue on appeal results in the procedural default of these claims.

       To be entitled to habeas relief, Ferneau must first show that her claims implicate

constitutional rights. While it is unclear whether such claims implicate Ferneau’s constitutional

rights, the Court will assume that Ferneau has alleged a constitutional violation and will examine

whether Ferneau has established both cause for her procedural default and prejudice from the

claimed error.

       Ferneau makes no attempt to show cause for her procedural default. Her motion contains

no explanation why there was no objection or why she did not pursue the issue on appeal. Again,

the lack of clarity in Ferneau’s petition hampers the Court’s ability to review her claims.

Nevertheless, the Court finds that to the extent Ferneau may be asserting that her counsel’s

performance establishes cause for her procedural default, the Court finds that it need not determine

counsel’s effectiveness in relation to Ferneau’s procedural default because the Court will also

examine whether the alleged violation prejudiced her trial.



                 1)    DEA AGENT DAN DUNLAP

       Ferneau asserts that DEA Agent Dunlap lied during his testimony. At trial, Agent Dunlap

testified that during an interview with Ferneau in Billings, Montana, Ferneau indicated that she had

previously used methamphetamine and marijuana. See Trial Tr. 808. On cross-examination by

Fernerau’s attorney and after reviewing his report, Agent Dunlap admitted he had “misspoken” and

corrected himself. See Trial Tr. 817. Agent Dunlap testified it was another individual, not Ferneau,

who admitted prior methamphetamine use. See Trial Tr. 817. Finally, in his closing argument,



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Ferneau’s counsel emphasized Agent Dunlap’s error and questioned his credibility. See Trial Tr.

1448.

         Regardless of whether Agent Dunlap’s error was intentional or merely a slip of the tongue,

the Eighth Circuit Court of Appeals has held that when a witness’ false statements are revealed at

trial, a defendant is not prejudiced by such statement. See United States v. Slaughter, 128 F.3d 623

(8th Cir. 1997) (“We cannot fathom how [the defendant] could have prejudiced by having the

government’s star witness shown as a self-confessed prejurer.”). Thus, the Court finds that Ferneau

has failed to establish that she was prejudiced by the statements of DEA Agent Dunlap.



                2)      PATRICIA “TRISH” WALSH

         Ferneau also contends that Patricia “Trish” Walsh lied about her observations of a drug deal

involving Patty Rhone and Rigoberto Fernandez. It appear that Ferneau claims this statement is

false because she (Ferneau) was in Tennessee at the time. Ferneau has failed to make any showing

that the testimony of Walsh was false. An unsupported allegation is insufficient to establish that a

witness testified falsely. The Court finds that Ferneau has failed to establish she was prejudiced by

the testimony of Walsh.



                3)      JAMES RHONE

         Ferneau also contends that James Rhone consistently lied to avoid returning to jail. Ferneau

has also failed to establish the falsity of Rhone’s testimony. The Court finds that an unsupported

allegation is insufficient to establish that a witness testified falsely. In addition, Ferneau’s counsel

cross-examined Rhone about his statement that he was never going back to jail. See Trial Tr. 943.

In his closing argument, Ferneau’s counsel directed the jury’s attention to Rhone’s statements and

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asked the jury to question Rhone’s credibility. See Trial Tr. 1456. The Court finds that Ferneau has

failed to establish that she was prejudiced by the testimony of Rhone.



               4)      RIGOBERTO FERNANDEZ

       Finally, Ferneau asserts that Rigoberto Fernandez lied about Ferneau’s involvement to

receive more lenient treatment. Ferneau fails to set forth any evidence other than her unsupported

assertions to demonstrate that Fernandez provided false testimony. On cross-examination, Ferneau’s

counsel questioned Ferenandez about his plea agreement with the Government. See Trial Tr. 886.

In his closing argument, Ferneau’s counsel questioned Ferenandez’s credibility and argued his

testimony was not reliable. See Trial Tr. 1451-1454. In addition, the Court instructed the jury that

it could determine whether a witness’s testimony was influenced by his or her plea agreement.

See Trial Tr. 1361; Final Jury Instructions (Docket No. 127). The Court finds that an unsupported

allegation is insufficient to establish that a witness testified falsely. Thus, Ferneau has failed to

establish she was prejudiced by Fernandez’s testimony.

       As to her claims regarding false testimony, the Court finds that Ferneau has failed to

establish cause for the procedural default and prejudice resulting from the alleged errors. As a

result, the Court finds that Ferneau is not entitled to habeas relief on this claim.



       E.      PROSECUTORIAL MISCONDUCT

       Ferneau appears to set forth several claims of prosecutorial misconduct. She complains that

she was contacted by Bismarck Detective Roger Becker and DEA Agent Dunlap in an attempt to

garner her cooperation against co-defendant Barth. She also complains that the Assistant United

States Attorney assigned to the case contacted her to seek her cooperation against Barth. Ferneau

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asserts that after she informed the Government agent that she did not know anything, she was

included as a defendant. She also claims that the prosecutor improperly vouched for the credibility

of Fernandez. Finally, Ferneau claims that the Government’s attorney improperly argued that

Fernandez brought over 18 pounds of methamphetamine when she was charged with 50 grams or

more of actual methamphetamine or 500 grams or more of a substance or mixture containing a

detectable amount of methamphetamine. The Government contends Ferneau’s claims must fail.

        The record reveals that Ferneau did not object at trial and failed to raise the issue of

prosecutorial misconduct on appeal, even though it was clearly known to her at the time, The Court

finds that Ferneau has procedurally defaulted these claim. Thus, to be entitled to habeas relief,

Ferneau must first show that her claim implicates constitutional rights. Ferneau must next establish

both cause for her procedural default and prejudice from the claimed error.



                 1)      AGENTS CONTACTING FERNEAU

        Ferneau asserts that Detective Roger Becker, DEA Agent Dan Dunlop, and Assistant United

States Attorney Rick Volk contacted her while she was incarcerated on a state sentence for a “check

charge.” Ferneau does not allege how such contacts, if they occurred, violate her constitutional

rights or warrant habeas relief.4

        To the extent Ferneau is asserting that her Sixth Amendment right to counsel was violated,

her own assertions belie such a claim. Ferneau asserts that she was not indicted until after such

contacts occurred. It is well-established that an individual’s Sixth Amendment right to counsel does

not attach until a prosecution is commenced against a person by means of a complaint, information


        4
       Assistant United States Attorney Rick Volk denies ever contacting Ferneau. See United States’
Memorandum in Opposition to Motion Under 28 U.S.C. § 2255, p. 38 n.7. (Docket No. 210).

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or indictment. McNeil v. Wisconsin, 501 U.S. 171, 175 (1991). Thus, it is clear Ferneau’s right to

counsel had not attached at the time she was allegedly contacted by the Government agents.

       To the extent Ferneau is asserting that her Fifth Amendment rights under Miranda were

violated, this too must fail. As discussed above, Miranda only applies to custodial interrogations.

Ferneau does not set forth the circumstances surrounding the alleged contacts by Government

agents, nor does she specify whether she made any statements which were used at trial.

       The Court finds that Ferneau has failed to establish that any contacts made by Detective

Becker, Agent Dunlap, or AUSA Volk violated her constitutional rights. Ferneau’s claims in this

regard must fail as a matter of law.



               2)      VINDICTIVE PROSECTUION

       Ferneau also appears to allege a claim of vindictive prosecution. The Government contends

that Ferneau has failed to establish a claim for vindictive prosecution.

       A defendant’s due process rights may be violated if she is the subject of vindictive

prosecution. United States v. Leathers, 354 F.3d 955, 961 (8th Cir. 2004). A prosecution designed

solely to punish a defendant for exercising a valid legal right violates due process. See Blackledge

v. Perry, 417 U.S. 21, 25-26, (1974); United States v. Graham, 323 F.3d 603, 606 (8th Cir. 2003).

It is the defendant’s burden to show that the prosecution was brought in order to punish the

defendant for the exercise of a legal right. See United States v. Kriens, 270 F.3d 597, 602 (8th Cir.

2001). A vindictive or improper motive may be proved either by direct or circumstantial evidence.

See United States v. Beede, 974 F.2d 948, 951 (8th Cir.1992). As long as there is probable cause

to believe a defendant had committed a crime, the prosecutor’s decision to indict is almost entirely

within his discretion. United States v. Kelley, 152 F.3d 881, 886 (8th Cir. 1999). This burden is a

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heavy one, and the Court is mindful of the broad discretion given to prosecutors in carrying out their

duty to enforce criminal statutes. Id. at 885-886.

       Ferneau makes no showing that the decision to charge in this case was vindictive. She

simply claims that the decision to charge her was based on her statement to officers that she did not

know anything. Such conclusory claims are insufficient to make a “threshold showing” of vindictive

prosecution. United States v. Hirsch, 360 F.3d 860, 864 (8th Cir. 2004). The Court finds that

Ferneau has wholly failed to establish that her due process rights were violated by the prosecutor’s

decision to seek an indictment against her. As a result, the Court finds that this claim must fail.



               3)      VOUCHING FOR THE CREDIBILITY OF WITNESSES

       Ferneau contends that the prosecutor improperly vouched for the credibility of Rigoberto

Fernandez. The Government asserts that his claim is completely frivolous and should be summarily

dismissed.

       A thorough review of the record reveals no information to indicate that the prosecutor

vouched for the credibility of Fernandez. The record does contain statements made by the Court at

Ferneau’s sentencing hearing regarding the credibility of Ferenandez. The Court determined that

Fernandez’s testimony was credible and reliable for purposes of resolving factual disputes presented

at the sentencing hearing. See Sentencing Tr. 11-12. The record also reveals that the Government

cited to the Court’s comments in its brief to the Eighth Circuit Court of Appeals. The Court finds

that this claim is wholly without merit and must be dismissed.




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               4)      QUANTITY OF METHAMPHETAMINE

       Finally, Ferneau appears to assert that the prosecutor engaged in misconduct by stating in

the Government’s opening statement that Fernandez would testify to bringing 18 pounds of

methamphetamine to Ferneau’s house when she was only charged with 50 grams or more of actual

methamphetamine, or 500 grams or more of a mixture or substance containing a detectable amount

of methamphetamine. The Government asserts this claim is frivolous and should be dismissed.

       Fernandez clearly testified that he brought 18 pounds of methamphetamine to Ferneau’s

house. See Trial Tr. 840-847. Ferneau fails to appreciate that 18 pounds is an amount greater than

50 grams. Ferneau was charged with conspiracy to distribute and possess with intent to distribute

50 grams or more of methamphetamine or 500 grams or more of a mixture or substance containing

a detectable amount of methamphetamine. See Docket No. 11. The Court finds that there can be

no prosecutorial misconduct for referring to an amount of methamphetamine greater than 50 grams.

Ferneau has failed to establish the Government engaged in prosecutorial misconduct and this claim

must fail.



       F.      SENTENCE

       Ferneau also raises challenges to her sentence. She claims that the Court miscalculated the

amount of drugs attributable to her, arguing that no drugs were found in her home. She also

challenges her sentence as violative of Booker and Apprendi. Finally, Fereneau appears to assert that

the Court did not have sufficient evidence to support a two-level enhancement in her sentence.




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               1)      DRUG QUANTITY

       Ferneau appears to contend that because no drugs were found in her home, she should not

be held responsible for any of the methamphetamine. As with several of her previous claims,

Ferneau’s claim that there was insufficient evidence to determine the amount of methamphetamine

attributable to a defendant is not a constitutional or jurisdictional claim than can be raised in a

Section 2255 motion. United States v. Ward, 55 F.3d 412, 413 (8th Cir. 1995); United States v.

Anderson, 25 F.3d 704, 706 (8th Cir. 1994).

       Even if Ferneau’s claim could be considered on its merits, it must fail. It is well-established

that the defendant may be held accountable for drug quantities that were within the scope of the

conspiracy that were reasonably foreseeable to her, provided there is a preponderance of the evidence

to support these findings. United States v. Vinton, 429 F.3d 811, 817 (8th Cir. 2005). Further, a

defendant may be held accountable for drug transactions in which she was not directly involved or

which occurred at other locations if those transactions “were part of the same course of conduct or

scheme.” United Stats v. Morin, 437 F.3d 777, 782 (8th Cir. 2006); United States v. Frazier, 280

F.3d 835, 852 (8th Cir. 2002).

       At the sentencing hearing, the Court attributed 2,440 grams of the methamphetamine to

Ferneau, of which 404.37 grams was actual methamphetamine. See Sentencing Tr. 13. This amount

was based on (1) the amount of methamphetamine identified in the overt acts alleged in Count One

of the Indictment (with the exception of the methamphetamine seized from Barth’s residence in

March 2003), (2) the amount seized by law enforcement from Rigoberto Fernandez in Montana in

September 2000, and (3) the amount seized from the Charles Chadwick residence in Mandan in

October 2000. See PSR ¶ 13-27; Sentencing Tr. 12.



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       There is no question that the amount of methamphetamine attributed to Ferneau was the result

of actions which were a part of the conspiracy. As the Government correctly noted, Ferneau could

have easily been held accountable for an even greater quantity of methamphetamine. Ferneau fails

to appreciate that the quantities of methamphetamine attributable to her are by virtue of her

membership in the conspiracy – not simply through her own individual actions. In other words, by

participating in a drug conspiracy, a defendant’s sentence may be based on drug quantities that were

part of the conspiracy, even if that particular defendant was not personally involved in all the drug

transactions made by the entire conspiracy.

       The Court finds that Ferneau has failed to establish that the methamphetamine quantity

calculated was incorrect. Thus, the Court finds that this claim must fail.



               2)      APPRENDI/BOOKER

       Fereneau appears to challenge her sentence on the grounds it violated Apprendi v. New

Jersey, 530 U.S. 466 (2000), and Booker v. United States, 543 U.S. 220 (2005). She also appears

to assert that her sentence should be given the same consideration given to those with appeals

pending when Booker was issued.

       Ferneau was sentenced on March 9, 2004, when application of the Sentencing Guidelines was

mandatory. At that time, only the Apprendi decision had been issued. Ferneau filed her notice of

appeal on March 17, 2004. See Docket No. 158. In June 2004, the Supreme Court handed down

Blakely v. Washington, 542 U.S. 296 (2004), which extended Apprendi to the State of Washington’s

determinate sentencing scheme and held that judicial findings of fact by a preponderance of the

evidence which increase a defendant’s sentencing range violated the Sixth Amendment. In January

2006, the Supreme Court issued its opinion in Booker which extended its holding in Blakely to the

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United States Sentencing Guidelines. The Court in Booker struck down those portions of the

Sentencing Reform Act that made the Sentencing Guidelines mandatory. The Eighth Circuit issued

its decision on Ferenau’s appeal on September 14, 2005. See United States v. Barth, 424 F.3d 753,

752 (8th Cir. 2005).

       As to Ferneau’s claim that her sentence violated Apprendi, the Court finds this claim must

fail. Apprendi only held that facts, other than a prior conviction, that increase the maximum sentence

that could be imposed upon a defendant must be pled and proved beyond a reasonable doubt. Count

One of the Indictment alleged that the conspiracy involved 50 grams or more of actual

methamphetamine or 500 grams or more of a mixture or substance containing a detectable amount

of methamphetamine. See Docket No. 11. The penalty for offenses involving these amounts of

methamphetamine increase the maximum sentence to life imprisonment as compared to the 40-year-

or 20-year-maximum sentences for lesser amounts. See 21 U.S.C. § 841(b)(1)(A), (B), and (C). The

jury verdict determined that Ferneau’s offense involved 50 grams or more of actual

methamphetamine or 500 grams or more of a mixture or substance containing a detectable amount

of methamphetamine. See Docket No. 131. Therefore, Ferneau has failed to establish a violation

of Apprendi based on facts that increased the maximum sentence.

       To the extent Fereneau is claiming that Apprendi was violated because the jury did not find

her prior convictions beyond a reasonable doubt, that claim must be rejected. It is well-established

that Apprendi does not apply to prior convictions. Therefore, the Court finds Ferneau had failed to

allege a violation of Apprendi.

       Ferneau also claims that her sentence violated Booker. Ferneau asserts that her Booker claim

was preserved in the district court. The Eighth Circuit rejected this claim in her direct appeal.

United States v. Barth, 424 F.3d 753, 764 (2005). Issues that have been decided on direct appeal

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cannot be relitigated in a Section 2255 motion. United States v. Wiley, 245 F.3d 750, 752 (8th Cir.

2001). Ferneau also asserts that she should be given the same consideration under Booker as

defendants who had appeals pending when Booker was issued. The record reflects she was given

such consideration.5

        Ferneau also appears to claim that she could only be sentenced on facts found by the jury.

It appears that Ferneau is claiming that she could only be sentenced based upon 50 grams of actual

methamphetamine or 500 grams of a mixture or substance containing a detectable amount of

methamphetamine. Again, Ferneau fails to appreciate the fact that the Indictment involved charges

involving 50 grams or more of actual methamphetamine or 500 grams or more of a mixture of

substance containing a detectable amount of methamphetamine. The jury clearly concluded that the

conspiracy involved at least 50 grams of actual methamphetamine or 500 grams of a mixture or

substance containing a detectable amount of methamphetamine. Even after Booker, trial courts may

make findings of fact that increase a defendant’s offense level as long as such findings are made

with the understanding that the Sentencing Guidelines are to be applied in an advisory fashion.

United States v. Morell, 429 F.3d 1161, 1164 (8th Cir. 2005). The Court’s determination of the

amount of methamphetamine involved for sentencing purposes did not run afoul of Booker. Finally,

to the extent Ferneau claims that the judicial factfinding in her case was conducted under a

mandatory application of the Guidelines, this claim must fail. Ferneau raised this issue on appeal

and it was rejected. See United States v. Barth, 424 F.3d 753, 764 (2005). Issues that have been




        5
          Defendants who had appeals pending when Booker was issued, and who had not preserved the issue for
appeal, received plan error review. United States v. Vinton, 429 F.3d 811, 819 (8th Cir. 2005). The Eighth Circuit
reviewed Ferneau’s claim for plain error. United States v. Barth, 424 F.3d 753, 764 (8th Cir. 2005).

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decided on direct appeal cannot be relitigated in a Section 2255 motion. United States v. Wiley, 245

F.3d 750, 752 (8th Cir. 2001).



               3)      SENTENCING ENHANCEMENT

       Finally, Ferneau asserts that the Court did not have sufficient evidence to support a two -level

enhancement of her sentence. The Court did not apply a two-level enhancement. The Court

determined that the aggravating role increase under U.S.S.G. § 3B1.1 was not triggered in her case.

See Sentencing Tr. 16.

       It is unclear whether Ferneau is also alleging that the Court erred in rejecting her request for

a two-level reduction under U.S.S.G. § 3B1.2 for being a minor participant. It is well-established

that an appellate court reviews a district court’s factual findings under Section 3B1.1 for clear error.

United States v. Willis, 433 F.3d 634, 637 (2006). In order to establish prejudice on this issue,

Ferneau must show that the Eighth Circuit Court of Appeals would have found the district court’s

findings clearly erroneous. Becht v. United States, 403 F.3d 541, 545 (8th Cir. 2005).

       At the sentencing hearing the Court addressed Ferneau’s request and stated the following:

               First of all, the request from the defendant that there be a reduction for a
       minor participant role under 3B1.2 – that’s the mitigating provision role of the
       Guidelines – that’s rejected. Clearly, under the case law out of the Eighth Circuit –
       and I sat on the Eighth Circuit a few weeks ago and was assigned several cases that
       specifically dealt with addressing the issue of a mitigating role in drug cases, so I’m
       familiar with the case law in that area – and, clearly, the defendant has the burden of
       proof of establishing that she was a minor participant or a minimal participant in the
       criminal activity, and I’m not convinced from the evidence that was presented that
       she has even come close to sustaining that burden of proof. The evidence, in fact,
       is overwhelmingly to the contrary. So the Court will not accept any – and will reject
       any request for a reduction under 3B1.2




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See Sentencing Tr. 13-14. It is apparent from the trial testimony of Fernandez and Rhone that

Ferneau did not play a minimal or minor role in the criminal activity.

         The Court finds that Ferneau has failed to establish that an appellate court would find the

Court’s findings at the sentencing hearing to be clearly erroneous. There was overwhelming

evidence to establish that Ferneau was not a minor or minimal participant in the criminal activity.

Thus, Ferneau’s claims regarding alleged error in the application of sentencing enhancements must

fail.



         G.     JURY INTERVIEWS

         Ferneau also contends that if the jurors would have known the lengthy sentence she was

facing, they would have found her not guilty of the drug trafficking offense. This claim is not

supported by any affidavit or other factual proof. Even if it were, it is well-established that a jury

must reach its verdict without consideration of the sentence that might be imposed. See Rogers v.

United States, 422 U.S. 35, 40 (1975); Manual of Model Criminal Jury Instructions for the Eighth

Circuit, Model Jury Instructions, § 3.12 (“[I]f the defendant is found guilty, the sentence to be

imposed is my responsibility. You may not consider punishment in any way in deciding whether

the Government has proved its case beyond a resonable doubt”). The Court finds that Ferneau has

failed to allege a constitutional violation warranting habeas relief.



III.     CONCLUSION

         For the reasons set forth above, the Court DENIES the Defendant’s Motion to Vacate, Set

Aside, or Correct Sentence under 28 U.S.C. § 2255. (Docket No. 196).



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         In addition, the Court certifies that an appeal from the denial of this motion may not be taken

in forma pauperis because such a appeal would be frivolous and cannot be taken in good faith.

Coppedge v. United States, 369 U.S. 438, 444-45 (1962). Based upon the entire record before the

Court, dismissal of the motion is not debatable, reasonably subject to a different outcome on appeal,

or otherwise deserving of further proceedings. Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983).

Therefore, a certificate of appealability will not be issued by this court.6

         If Ferneau desires further review of her Motion to Vacate, Set Aside, or Correct Sentence

under 28 U.S.C. § 2255, she may request issuance of a certificate of appealability by a circuit judge

of the Eighth Circuit Court of Appeals in accordance with Tiedeman v. Benson, 122 F.3d 518, 250-

22 (8th Cir. 1997).

         IT IS SO ORDERED

         Dated this 2nd day of February, 2007.

                                                       /s/ Daniel L. Hovland
                                                       Daniel L. Hovland, Chief Judge
                                                       United States District Court




         6
          The Court of Appeals for the Eighth Circuit has opined that the district courts possess the authority to issue
Certificates of Appealability under Section 2253(c). Tiedeman v. Benson, 122 F.3d 518, 522 (8th Cir. 1997).

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